Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 1 of 30 PageID 1190



                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 RONALD LUCZAK,

             Petitioner,

 v.                                       Case No. 2:11-cv-396-FtM-29DNF
                                            Case No. 2:07-cr-1-FtM-29DNF
 UNITED STATES OF AMERICA,

             Respondent.



                             OPINION AND ORDER

        This matter comes before the Court on petitioner’s Motion

 Under 28 U.S.C. Section 2255 to Vacate, Set Aside or Correct

 Sentence by a Person in Federal Custody (Cv. Doc. #1; Cr. Doc.

 #349) 1 filed on July 14, 2011 by attorney Stephen G. Murty.             The

 government filed a Response in Opposition to Motion (Cv. Doc. #11)

 on October 3, 2011, and petitioner filed a Notice of Supplemental

 Authority (Cv. Doc. #12) on March 30, 2012.           For the reasons set

 forth below, the motion is denied.

                                         I.

        For the most part, petitioner claims one or more of his former

 attorneys    provided     ineffective   assistance     during   the   trial

 preparation phase and the plea negotiation process, which resulted




 1The Court will make references to the dockets in the instant
 action and in the related criminal case throughout this opinion.
 The Court will refer to the docket of the civil habeas case as
 “Cv. Doc.”, and will refer to the docket of the underlying criminal
 case as “Cr. Doc.”
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 2 of 30 PageID 1191



 in a plea agreement and guilty pleas petitioner would not have

 otherwise entered.        The sixteen grounds raised by petitioner are

 summarized more specifically below.

        1. Ground One:

       Petitioner        argues     that     counsel       provided        ineffective

 assistance    during     the     trial    preparation       phase   by    failing    to

 interview and track down witnesses, failing to review evidence,

 failing to research and understand the law and facts, and failing

 to file appropriate pretrial motions.               Petitioner also argues that

 counsel had him sign a plea agreement that he would never have

 signed but for the ineffective assistance of his attorney, and

 that he was further prejudiced because the Plea Agreement required

 that he waive important constitutional rights that he would not

 have otherwise waived.

        2. Ground Two

       Petitioner        argues     that     counsel       provided        ineffective

 assistance during the plea process by providing improper and

 incorrect information regarding the effect and nature of the plea

 and   the   law   and    facts    surrounding       the   determination       of    the

 sentence, by failing to explain the nature and effect of a plea on

 sentencing, and by failing to investigate and research sentencing

 issues,     including    the     potential       sentence    and    the    impact    of

 petitioner’s      criminal     history.          Petitioner    also      argues    that

 counsel had him sign a plea agreement that he would never have

 signed but for the ineffective assistance of his attorney, and

                                          - 2 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 3 of 30 PageID 1192



 that he was further prejudiced because the Plea Agreement required

 that he waive important constitutional rights that he would not

 have otherwise waived.

        3. Ground Three

       Petitioner        argues        that       counsel    provided     ineffective

 assistance    by    his       “overall     and    cumulative”      failures   in    case

 preparation      and    all     pretrial       aspects,     including    failure      to

 adequately prepare for trial, and advise petitioner of strategies

 and defenses free of conflicts of counsel.                   Petitioner asserts he

 was   deprived     of     a    fair    trial     due   to   this    ineffectiveness.

 Petitioner also argues that counsel had him sign a plea agreement

 that he would never have signed but for the ineffective assistance

 of his attorney, and that he was further prejudiced because the

 Plea Agreement required that he waive important constitutional

 rights that he would not have otherwise waived.

        4. Ground Four

       Petitioner argues that counsel failed to hire or consult

 witnesses or experts to educate himself on real estate and mortgage

 transactions       in     order       to    understand      the    underlying      facts

 supporting the Indictment.                 Petitioner also argues that counsel

 had him sign a plea agreement that he would never have signed but

 for the ineffective assistance of his attorney, and that he was

 further prejudiced because the Plea Agreement required that he

 waive important constitutional rights that he would not have

 otherwise waived.

                                            - 3 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 4 of 30 PageID 1193



        5. Ground Five

       Petitioner     argues    that     counsel     provided       ineffective

 assistance because counsel induced petitioner into entering a plea

 of guilty by threats and pressure, leaving him with no other

 choice.     Petitioner    asserts     that    counsel    stated   that    he   was

 unprepared, that they would lose at trial, and that he was not

 competent to try a case in federal court.           Petitioner also argues

 that counsel had him sign a plea agreement that he would never

 have signed but for the ineffective assistance of his attorney,

 and that he was further prejudiced because the Plea Agreement

 required that he waive important constitutional rights that he

 would not have otherwise waived.

        6. Ground Six

       Petitioner     argues    that     Mr.     Robert     Meadows       provided

 ineffective assistance because he undertook representation even

 though he should have known at the time of the conflict of interest

 hearing that reliance on co-counsel’s assistance was misplaced,

 and while knowing that he could not adequately represent petitioner

 without Mr. Stone.       Petitioner also argues that counsel had him

 sign a plea agreement that he would never have signed but for the

 ineffective assistance of his attorney, and that he was further

 prejudiced because the Plea Agreement required that he waive

 important constitutional rights that he would not have otherwise

 waived.



                                     - 4 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 5 of 30 PageID 1194



        7. Ground Seven

       Petitioner    argues   that    Mr.     Meadows    provided      ineffective

 assistance    of   counsel   by   advising     petitioner       to   sign   a   plea

 agreement that contained a waiver of his rights, including his

 rights to make a collateral attack, which made the waiver unknowing

 and involuntary.     Petitioner also argues that counsel had him sign

 a plea agreement that he would never have signed but for the

 ineffective assistance of his attorney, and that he was further

 prejudiced because the Plea Agreement required that he waive

 important constitutional rights that he would not have otherwise

 waived.

        8. Ground Eight

       Petitioner    argues    that    attorney         Robert    Altchiler       was

 ineffective based upon an actual conflict of interest.                          While

 representing petitioner, Mr. Altchiler was also counsel for the

 company involved in the fraudulent activities.              Petitioner argues

 that he was prejudiced with the delay in trial preparation when it

 was determined that counsel could no longer proceed.                   Petitioner

 also argues that, but for counsel’s ineffective assistance, he

 would not have ultimately entered a plea agreement that was not

 negotiated and contained a waiver of his due process and collateral

 attack rights.

        9. Ground Nine

       Petitioner argues that Mr. Meadows failed to obtain and use

 co-counsel, who could have assisted in providing legal services.

                                      - 5 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 6 of 30 PageID 1195



 Petitioner also argues that counsel had him sign a plea agreement

 that he would never have signed but for the ineffective assistance

 of his attorney, and that he was further prejudiced because the

 Plea Agreement required that he waive important constitutional

 rights that he would not have otherwise waived.

        10. Ground Ten

       Petitioner argues that Mr. Meadows failed to address or did

 not   know   how   to   address   the   Motion   in   Limine   filed   by   the

 government, and that this inability to assess the merits of the

 motion led to Mr. Meadows advising petitioner to enter a guilty

 plea without attempting to see if they could succeed on the merits

 of the motion.      Petitioner also argues that counsel had him sign

 a plea agreement that he would never have signed but for the

 ineffective assistance of his attorney, and that he was further

 prejudiced because the Plea Agreement required that he waive

 important constitutional rights that he would not have otherwise

 waived.

        11. Ground Eleven

       Petitioner argues that Mr. Meadows gave petitioner inaccurate

 information with regard to the entry of the plea, the sentencing

 guidelines, and any potential sentences that might be imposed,

 including what enhancements might be applied.             Petitioner argues

 that Mr. Meadows relied on the government agent’s advice rather

 than his own research.        Petitioner also argues that counsel had

 him sign a plea agreement that he would never have signed but for

                                     - 6 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 7 of 30 PageID 1196



 the ineffective assistance of his attorney, and that he was further

 prejudiced because the Plea Agreement required that he waive

 important constitutional rights that he would not have otherwise

 waived.

        12. Ground Twelve

       Petitioner      argues      that    Mr.      Meadows     breached     client

 confidentiality      by   only   communicating       with    petitioner     through

 monitored jail phone calls because he would not drive to the jail

 to see him in person.       Petitioner argues he was prejudiced by the

 government monitoring the communications.                Petitioner also argues

 that counsel had him sign a plea agreement that he would never

 have signed but for the ineffective assistance of his attorney,

 and that he was further prejudiced because the plea agreement

 required that he waive important constitutional rights that he

 would not have otherwise waived.

        13. Ground Thirteen

       Petitioner argues Mr. Meadows was ineffective in failing to

 renew his Motion to Withdraw knowing that he was ineffective.

 Petitioner    also    argues     that,    but     for    counsel’s    ineffective

 assistance, he would not have ultimately entered into a plea

 agreement that was not negotiated and contained a waiver of his

 due process and collateral attack rights.

        14. Ground Fourteen

       Petitioner     argues      that    the     Court   violated     the    “Sixth

 Amendment’s     [sic]     Procedural       and     Substantive       Due    Process

                                         - 7 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 8 of 30 PageID 1197



 requirements” when it failed to adequately inquire as to the issues

 underlying petitioner’s representations, and his satisfaction with

 counsel.        Petitioner    also   argues     that,    but    for   counsel’s

 ineffective assistance, he would not have ultimately entered into

 a Plea Agreement that was not negotiated and contained a waiver of

 his due process and collateral attack rights.

        15. Ground Fifteen

       Petitioner argues that his right to a fair trial was violated

 due to counsel’s ineffectiveness, and the Court’s denial of the

 motion to withdraw and appointment of new or co-CJA counsel.

 Petitioner argues that the government was aware of Mr. Meadows’s

 inadequacies, and should at least have advised him as to the plea

 waiver.         Petitioner    also   argues    that,     but    for   counsel’s

 ineffective assistance, he would not have ultimately entered into

 a plea agreement that was not negotiated and contained a waiver of

 his due process and collateral attack rights.

        16. Ground Sixteen

       Petitioner     argues   that   Mr.     Meadows    was    ineffective   for

 failing    to    take   advantage    of    available     resources    like   an

 investigator or expert in light of his appointment as CJA counsel

 so that he could adequately prepare for trial.                 Petitioner also

 argues that, but for counsel’s ineffective assistance, he would

 not have ultimately entered into a Plea Agreement that was not

 negotiated and contained a waiver of his due process and collateral

 attack rights.

                                      - 8 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 9 of 30 PageID 1198



        For the reasons set forth below, none of these sixteen grounds

 have merit, and the § 2255 motion is denied.

                                     II.

        The underlying criminal case was initiated on December 13,

 2006, by the filing of a Complaint (Cr. Doc. #3) against Ronald

 Luczak (petitioner or Luczak), Lisa Luczak, Nelson Alex Gonzalo,

 Patricia Martin, and Sandra Mainardi.             On December 14, 2006,

 attorney Robert Y. Altchiler of New York was granted pro hac vice

 status for the initial appearance, and represented petitioner for

 the initial hearing and a detention hearing.            (Cr. Docs. ## 5,

 39.)    On December 21, 2006, Mr. Altchiler moved for admission as

 pro hac vice counsel and designated Hugo A. Rodriquez as local

 counsel for petitioner.      (Cr. Docs. #43, 44, 98.)       The motion was

 granted the same day.      (Cr. Doc. #46.)

        On January 3, 2007, a federal grand jury in Fort Myers,

 Florida returned a four-count Indictment (Cr. Doc. #56) charging

 Luczak and others with a fraud conspiracy and money laundering.

 Mr. Altchiler continued to represent petitioner.

        On May 23, 2007, both Mr. Altchiler and Mr. Rodriguez filed

 an Unopposed Motion to Withdraw.           (Cr. Doc. #121.)     The motion

 asserted that case developments and discovery revealed a serious

 conflict in their continued representation of petitioner.            It was

 represented that the government agreed that a conflict existed.

 On May 25, 2007, the motion to withdraw was granted, and petitioner



                                    - 9 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 10 of 30 PageID 1199



 was directed to file a financial affidavit for appointment of

 counsel.     (Cr. Doc. #123.)

       On June 4, 2007, after review of petitioner’s financial

 affidavit, the Court appointed attorney Scott Lyon Robbins as

 counsel.      (Cr.      Doc.   #127.)      Mr.    Robbins      filed   a    Notice   of

 Appearance       (Cr.   Doc.    #129)    and     began   his    representation       of

 petitioner.

       Petitioner        then   retained    counsel,      and    on   July   9,   2007,

 attorney Robert E. Stone filed a Notice of Appearance as Counsel

 (Cr. Doc. #141).         Mr. Stone spent considerable efforts attempting

 to set aside petitioner’s detention order. (Cr. Docs. ## 152, 158,

 161, 163.)

       On February 6, 2008, attorney Robert Bruce Meadows filed a

 notice of appearance as retained counsel on behalf of petitioner.

 (Cr. Doc. #169.)         At a February 11, 2008 status conference, Mr.

 Meadows and the prosecutor (and counsel for the co-defendants)

 informed the Court that the parties anticipated the case being

 ready for trial for the June 2008 trial term.                   (Cr. Doc. #173.)

       On March 5, 2008, Mr. Stone filed a Notice of Appearance as

 Counsel (Cr. Doc. #176) on behalf of petitioner’s co-defendant and

 wife, Lisa Luczak, and the government filed a Motion to Determine

 Conflict    of    Interest     (Cr.     Doc.   177).      The    Magistrate      Judge

 conducted a Garcia 1 hearing to address the matter.                         (Cr. Doc.



 1 United States v. Garcia, 517 F.2d 272 (5th Cir. 1975), abrogated
 in part by Flanagan v. United States, 465 U.S. 259, 263 (1984).
                               - 10 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 11 of 30 PageID 1200



 #186.)     Mr. Stone stated that he and Mr. Meadows had been in the

 same law firm, but now had separate practices.                     Mr. Stone stated

 that he had never discussed any detailed facts about the case with

 petitioner, and most of the meetings had been conducted by Mr.

 Meadows.     (Cr. Doc. #186, pp. 9-10.)                Mr. Meadows agreed with

 this, stating that he had been at every meeting with petitioner to

 discuss possible defenses and that he, not Mr. Stone, had been

 privy to the material information as to the evidence in the case.

 (Id. at 11.)       Both Mr. Meadow and Mr. Stone stated that petitioner

 was willing to sign a written waiver, and Mr. Stone stated that he

 had    discussed    the    matter    at     length   with    petitioner.        (Id.)

 Petitioner     told       the    Magistrate        Judge    that    he    understood

 “completely”       and    was     willing     to    waive   the     attorney-client

 privilege as to information shared with Mr. Stone.                       (Id. at 11-

 12.)      After the necessary waivers were filed, Mr. Stone was

 permitted to withdraw as counsel for petitioner and to represent

 Lisa Luczak.        (Cr. Docs. ## 186, 187-88, 190.)                     Mr. Meadows

 continued his representation of petitioner.

        On May 7, 2008, a Superseding Indictment (Cr. Doc. #193) was

 filed, and on July 25, 2008, it was amended without objection to

 correct a Scrivener’s error.                 (Cr. Doc. #227.)            The Amended

 Superseding Indictment (Cr. Doc. #193-2) charged petitioner with:

 wire fraud, in violation of 18 U.S.C. §§ 1343 and 2 (Counts One

 through    Six);    money       laundering,    in    violation     of    18   U.S.C   §

 1956(a)(1)(A)(i) (Counts Seven and Eight); and prohibited monetary

                                        - 11 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 12 of 30 PageID 1201



 transactions, in violation of 18 U.S.C. §§ 1957 and 2 (Counts Nine

 through Fifteen).      Petitioner, represented by Mr. Meadows, waived

 his presence for arraignment on the Superseding Indictment and

 entered a plea of not guilty.        (Cr. Docs. ## 205, 207.)      At a May

 12, 2008, status conference, petitioner and other co-defendants

 moved to continue the trial date, which motion was granted and the

 case was placed on the September 2008 trial calendar.             (Cr. Doc.

 #209.)

       On July 10, 2008, Mr. Meadows filed a motion to withdraw as

 counsel, asserting that did not have the financial resources

 necessary to handle the case and did not think he could handle his

 first federal case as lead counsel after the withdrawal of Mr.

 Stone.    (Cr. Doc. #220.)     At an August 1, 2008 hearing, Mr. Meadows

 expressed his concerns to the Magistrate Judge.            Petitioner then

 stated    that   “I   feel   unequivocally,    after   dealing   with    this

 situation for two years and dealing with lawyers for the past ten

 years, that Mr. Meadows could represent me effectively.”                 (Cr.

 Doc. #309, p. 4.)       Petitioner went on to say that “Mr. Meadows

 continued to do the job, continued to work with me, and from what

 I’ve learned, being the main person in this case, I believe Mr.

 Meadows can represent me properly.”            (Id. at 5.)       Petitioner

 summed up by saying that “I do believe unequivocally, Mr. Meadows,

 even though he may be unsure of himself, I’m sure that he can do

 it.   I’ve dealt with a few attorneys on this now and I really - -

 you know, I’d like to proceed this way, Your Honor.”             (Id.)    The

                                    - 12 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 13 of 30 PageID 1202



 Magistrate Judge denied the motion to withdraw but appointed Mr.

 Meadows as CJA counsel.       (Cr. Docs. ## 229, 231.)      The Order (Cr.

 Doc. #231) stated in part:            “The Court also heard from the

 defendant.    Mr. Luczak advised the Court that he did not want his

 attorney to be relieved of representation and strongly felt the

 Mr. Meadows would be able to adequately represent him.                   The

 defendant also expressed his desire for a trial in the near

 future.”    (Cr. Doc. #231, p. 1.)

       At an August 11, 2008 status conference, a jury trial was

 scheduled for September 16, 2008.        (Cr. Doc. #236.)     On August 21,

 2008, Mr. Meadows filed a Motion to Continue Trial (Cr. Doc. #244),

 which motion was denied on August 27, 2008.              (Cr. Doc. #246.)

 Also on August 27, 2008, petitioner filed a Motion for Extension

 of Time to Enter Plea of Guilty (Cr. Doc. #247) seeking an

 extension of the plea cutoff time until September 4, 2008.              This

 motion was granted, although the plea cutoff was extended until

 September 11, 2008.      (Cr. Doc. #249.)

       On September 3, 2008, upon motion of the government, Count

 Two of the Amended Superseding Indictment was dismissed as to all

 defendants.     (Cr. Doc. #252.)

       On September 10, 2008, petitioner signed a Plea Agreement

 (Cr. Doc. #266) in which he agreed to plead guilty to Counts One,

 Seven, and Nine, and to pay restitution.              The Plea Agreement

 required that the government dismiss all other charges and the

 underlying Indictment; not file further charges for any other

                                    - 13 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 14 of 30 PageID 1203



 offenses known to the government at the time; recommend that

 petitioner be sentenced within the sentencing guidelines range;

 and recommend a two level downward adjustment for acceptance of

 responsibility.     The Plea Agreement, among other things, set forth

 the   elements    and   penalties    for     the   offenses,   provided   for

 petitioner to provide substantial assistance to the government,

 and contained a Waiver of Right to Appeal and Right to Collaterally

 Challenge the Sentence provision, which stated in pertinent part:

             The defendant agrees that this Court has
             jurisdiction and authority to impose any
             sentence up to the statutory maximum and
             expressly   waives   the   right   to   appeal
             defendant’s sentence or to challenge it
             collaterally on any ground, including the
             ground that the Court erred in determining the
             applicable guidelines range pursuant to the
             United States Sentencing Guidelines, except
             (a) the ground that the sentence exceeds the
             defendant’s applicable guidelines range as
             determined by the Court pursuant to the United
             States Sentencing Guidelines; (b) the ground
             that the sentence exceeds the statutory
             maximum penalty; or (c) the ground that the
             sentence violates the Eighth Amendment to the
             Constitution; provided, however, that if the
             government exercises its right to appeal the
             sentence imposed, as authorized by Title 18,
             United States Code, Section 3742(b), then the
             defendant is released from his waiver and may
             appeal the sentence as authorized by Title 18,
             United States Code, Section 3742(a).

 (Cr. Doc. #266, p. 13) (emphasis in original).           The Plea Agreement

 further provided that petitioner was entering into the agreement,

 and pleading guilty, freely and voluntarily, and without threats,

 force, intimidation, or coercion of any kind.              (Id. at 13-14.)



                                     - 14 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 15 of 30 PageID 1204



 Petitioner admitted his guilt, and admitted four pages of facts.

 (Id. at 15-19.)

        On September 10, 2008, while represented by Mr. Meadows,

 petitioner appeared before the Magistrate Judge for purposes of

 entering his guilty pleas.         Petitioner took an oath to tell the

 truth (Cr. Doc. #310, p. 2), and answered the court’s biographical

 questions (id. at 3-4).        Petitioner stated that he had read the

 Superseding Indictment, understood the charges in it, reviewed the

 charges with his attorney, had had enough time to discuss the

 charges with is attorney, and was “absolutely” satisfied with

 counsel’s services.      (Id. at 4-5.)      The Magistrate Judge found no

 issues as to petitioner’s competency to enter a plea, and found

 him competent to do so.           (Id. at 5.)     Petitioner stated that

 nothing wrong or unfair had been done to make him plead guilty,

 that no threats, coercion, or improper pressure were applied to

 make him plead guilty, and that he was pleading guilty because he

 was guilty.     (Id. at 5.)

        Petitioner   personally     examined     the   Plea    Agreement       and

 affirmatively stated that he had initialed each page and signed

 the end of the agreement. (Id. at 6.)             Petitioner acknowledged

 that he had read the Plea Agreement and discussed it with his

 attorney before signing it, and had authorized his attorney to

 have   discussion    with   the   government   attorney      to   seek   a   plea

 agreement.    (Id., pp. 6-7.)      Petitioner stated that he understood

 the Plea Agreement and that the Court was not bound by any

                                    - 15 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 16 of 30 PageID 1205



 recommendations as to the sentence or application of the sentencing

 guidelines.       (Id.   at   7.)    Petitioner    also    stated   that   he

 understood he could not withdraw his plea of guilty if the Court

 did not follow any sentencing recommendations or the sentencing

 guidelines.     (Id., p. 7.)     Petitioner assured the court that the

 Plea Agreement contained all the promises made in the case, and

 that no other promises had been made to him.          (Id. at 8.)

       The Magistrate Judge explained the counts to which petitioner

 was pleading guilty, the maximum penalties each count carried, and

 that restitution was applicable.         (Id. at 8-9.)     Petitioner told

 the Magistrate Judge that he had discussed with his attorney how

 the Sentencing Guidelines might apply to him and the various

 considerations which go into determining the guideline range,

 including his criminal history.        (Id. at 9-10.)     Petitioner stated

 that he was aware that he could be facing anywhere between 0 and

 50 years.    (Id., p. 11.)     The Magistrate Judge called petitioner’s

 attention to the sentence waiver provision of the Plea Agreement,

 and explained that it stated that he expressly waived the right to

 appeal his sentence or to challenge it collaterally on any ground,

 except in three circumstances.          (Id., pp. 11-12.)        Petitioner

 stated he understood this, and had made the provision knowingly

 and voluntarily.     (Id., p. 12.)

       The Magistrate Judge went on further to explain to petitioner

 his right not to plead and to proceed to trial before a jury, and

 the other associated rights, including the right to testify or not

                                     - 16 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 17 of 30 PageID 1206



 to testify, and the civil rights that would be lost as a result of

 pleading guilty, all of which petitioner acknowledged.                  (Id., pp.

 13-15.) The Magistrate Judge further explained the counts, the

 elements for each count, and the penalties.                      (Id. at 15-17.)

 Petitioner specifically admitted to the factual elements of each

 count,   and    reiterated      that   he   was   would   like    to   freely   and

 voluntarily plead guilty to Counts 1, 7, and 9. (Id. at 17-21.)

 The Magistrate Judge asked petitioner “Is there anything you want

 to tell me or ask me or your attorney that bears on your decision

 to   plead     guilty    that    we    haven’t    already   covered      in     this

 proceeding?”, to which petitioner responded “No, Your Honor.”

 (Id., p. 21.)     The pleas were accepted and found to be knowingly,

 intelligently,     and    voluntarily       made.     (Id.,      p.    22.)     The

 Magistrate Judge filed a written recommendation that defendant’s

 guilty pleas be accepted.         (Cr. Doc. #268.)

       The Court accepted petitioner’s guilty plea on September 11,

 2008, and scheduled sentencing.             (Cr. Doc. #273.)       Mr. Meadows’s

 motion to continue sentencing (Cr. Doc. #279) was granted.                      (Cr.

 Doc. #280.)

       On February 12, 2009, prior to sentencing, attorneys Stephen

 G. Murty and Jack R. Maro filed a joint Notice of Appearance (Cr.

 Doc. #285) and a Motion to Continue Sentencing (Cr. Doc. #286) on

 behalf of petitioner.        The Court held a hearing on the request for

 substitution of counsel, and thereafter permitted the substitution

 of counsel (Cr. Docs. ## 288, 291) and continued the sentencing

                                        - 17 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 18 of 30 PageID 1207



 (Cr. Doc. #292).          Mr. Maro filed an additional Notice of Appearance

 as Co-Counsel for Ronald D. Luczak (Cr. Doc. #293) after the

 appearance was permitted.

       On March 13, 2009, the government filed a Motion for Downward

 Departure Based Upon Substantial Assistance (Cr. Doc. #294) and on

 April 6, 2009, an Amended Sentencing Memorandum (Cr. Doc. #300)

 was filed.

       On April 13, 2009, the day before sentencing, petitioner filed

 a    Motion    to   Withdraw       Guilty   Plea   (Cr.   Doc.   #304)   arguing

 ineffective assistance of counsel, that the guilty pleas were not

 knowingly and voluntarily entered, and that he was innocent of the

 charges.      The government filed a Response (Cr. Doc. #311).               On May

 28, 2009, the Court issued an Opinion and Order (Cr. Doc. #314)

 denying the motion.           After setting forth the procedural history

 of   the   case     and    the   applicable     legal   principles,    the   Court

 summarized the discussions from the prior motion to withdraw and

 the detailed guilty plea colloquy between the Magistrate Judge and

 petitioner.         The    Court    found   that   petitioner    had   the   close

 assistance of counsel in deciding to enter his pleas and that the

 record established the guilty pleas were knowing and voluntarily

 entered.

        On June 30, 2009, the Court sentenced petitioner to concurrent

 terms of imprisonment of 212 months as to Counts One and Seven,

 and fifty-two months as to Count Nine to be served consecutively

 to the terms of imprisonment for Counts One and Seven, followed by

                                        - 18 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 19 of 30 PageID 1208



 a concurrent term of supervised release of thirty-six months.

 (Cr. Docs. ## 320, 323.)           Petitioner was ordered to pay the

 standard special assessments and restitution in the amount of

 $5,966,125.65     (jointly   and   severally    with    his   co-defendants).

 (Cr. Doc. #323.)      Judgment (Cr. Doc. #323) was filed on July 2,

 2009.

       Petitioner filed a Notice of Appeal (Cr. Doc. #325) on July

 15, 2009.    On March 9, 2010, the Eleventh Circuit Court of Appeals

 affirmed the convictions and sentences.          United States v. Luczak,

 370 F. App’x 3 (11th Cir. 2010)(per curiam); (Cr. Doc. #343).

 Petitioner did not file a petition for Writ of certiorari with the

 United States Supreme Court.       The Court agrees with the government

 that the § 2255 petition was timely filed.             (Cv. Doc. #11, p. 8.)

                                        III.

       A.    Evidentiary Hearing

       A district court shall hold an evidentiary hearing on a habeas

 petition “unless the motion and the files and records of the case

 conclusively show that the prisoner is entitled to no relief. . .

 . ” 28 U.S.C. § 2255(b).      “[I]f the petitioner alleges facts that,

 if true, would entitle him to relief, then the district court

 should order an evidentiary hearing and rule on the merits of his

 claim.”     Aron v. United States, 291 F.3d 708, 714-15 (11th Cir.

 2002) (internal quotation marks and citation omitted).              See also

 Winthrop-Redin v. United States,               F.3d      , 2014 WL 4699391,

 *4 (11th Cir. Sept. 23, 2014).        However, a “district court is not

                                    - 19 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 20 of 30 PageID 1209



 required to hold an evidentiary hearing where the petitioner’s

 allegations are affirmatively contradicted by the record, or the

 claims are patently frivolous.”              Aron, 291 F.3d at 715.             See also

 Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008).

 Here, even when the facts are viewed in the light most favorable

 to petitioner, the record establishes that petitioner received

 effective assistance of counsel and that none of his sixteen

 grounds     have     merit.         Therefore,     the    Court    finds        that   an

 evidentiary hearing is not warranted in this case.

       B.      Ineffective Assistance of Counsel Principles

       The legal standard for ineffective assistance of counsel

 claims in a habeas proceeding is well established.                   To prevail on

 a claim of ineffective assistance of counsel, a habeas petitioner

 must demonstrate both that (1) counsel's performance was deficient

 because it fell below an objective standard of reasonableness, and

 (2) prejudice resulted because there is a reasonable probability

 that,   but    for     the   deficient      performance,    the    result        of    the

 proceeding would have been different.                  Hinton v. Alabama, 134 S.

 Ct. 1081, 1087-88 (2014) (citing Strickland v. Washington, 466

 U.S. 668, 687, 694 (1984); Padilla v. Kentucky, 559 U.S. 356, 366

 (2010)).

       The     proper    measure      of     attorney     performance       is     simply

 reasonableness under prevailing professional norms considering all

 the   circumstances.          Id.    at    1088.    A    court    must   “judge        the

 reasonableness of counsel’s conduct on the facts of the particular

                                           - 20 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 21 of 30 PageID 1210



 case, viewed as of the time of counsel’s conduct.”               Roe v. Flores-

 Ortega, 528 U.S. 470, 477 (2000) (quoting Strickland, 466 U.S. at

 690).    This judicial scrutiny is highly deferential, and the Court

 adheres to a strong presumption that counsel’s conduct falls within

 the wide range of reasonable professional assistance. Strickland,

 466    U.S.   at    689-90.     To    be     objectively    unreasonable,     the

 performance must be such that no competent counsel would have taken

 the action.      Rose v. McNeil, 634 F.3d 1224, 1241 (11th Cir. 2011);

 Hall v. Thomas, 611 F.3d 1259, 1290 (11th Cir. 2010).

        To establish prejudice under Strickland, petitioner must show

 more than that the error had “some conceivable effect on the

 outcome of the proceeding.”           Marquard v. Sec'y for the Dep’t of

 Corr., 429 F.3d 1278, 1305 (11th Cir. 2005) (quotation marks

 omitted).        Rather, the petitioner must show that there is a

 reasonable    probability     that,    but     for   counsel’s   unprofessional

 errors, the result of the proceeding would have been different.

 Hinton, 134 S. Ct. at 1089.                “A reasonable probability is a

 probability sufficient to undermine confidence in the outcome.”

 Id. (quoting Strickland, 466 U.S. at 694) (internal quotation marks

 and citations omitted).

        These legal principles apply not only in a trial context, but

 also when the case is resolved by a guilty plea.              Hill v. Lockhart,

 474 U.S. 52, 58 (1985).        Further, a defendant in a criminal case

 is    entitled     to   effective    assistance      of   counsel   during   plea

 negotiations.       Lafler v. Cooper, 132 S. Ct. 1376, 1384 (2012).            In

                                       - 21 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 22 of 30 PageID 1211



 the context of guilty pleas, petitioner must show “that there is

 a reasonable probability that, but for counsel's errors, [the

 defendant] would not have pleaded guilty and would have insisted

 on going to trial.”           Lafler, 132 S. Ct. at 1384-1385 (quoting

 Hill, 474 U.S. at 59).              Petitioner “must show both deficient

 performance by counsel and prejudice.”            Premo v. Moore, 131 S. Ct.

 733, 739 (2011)(quoting Knowles v. Mirzayance, 129 S. Ct. 1411,

 1419 (2009)).       If petitioner makes an insufficient showing on the

 either prong, the court need not address the other prong. Holladay

 v. Haley, 209 F.3d 1243, 1248 (11th Cir. 2000).

                                        IV.

       For    each    ground    of   ineffective    assistance   of   counsel,

 petitioner argues that he suffered prejudice by being virtually

 compelled to plead guilty pursuant to a Plea Agreement containing

 an invalid provision that waived his right to appeal, and to

 collaterally challenge certain matters, when he would not have

 entered a guilty plea if his attorney had provided effective

 assistance.     The government, on the other hand, asserts that all

 the issues raised in the § 2255 petition have been waived by the

 appeal waiver provision of the Plea Agreement.            (Cv. Doc. #11, pp.

 8-10.)      Although the waiver provision is valid and does waive

 certain issues, the Court concludes that it does not waive most of

 the issues raised in this § 2255 motion.           Most of the other issues

 are    procedurally     defaulted,      however,    and   the   record   also

 establishes that petitioner was not prejudiced by any of the

                                       - 22 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 23 of 30 PageID 1212



 conduct of which he now complains.          Therefore petitioner’s claims

 of ineffective assistance of counsel are without merit.

       A.    Waiver-of-Collateral-Review Provision

       An appeal waiver provision in a plea agreement is valid if

 made knowingly and voluntarily.         United States v. Weaver, 275 F.3d

 1320, 1333 (11th Cir. 2001) (citing United States v. Bushert, 997

 F.2d 1343, 1350-51 (11th Cir. 1993)).           To establish that the waiver

 was made knowingly and voluntarily, the government must show that

 either     (1)   the   district   court     specifically     questioned   the

 defendant about the waiver during the plea colloquy, or (2) the

 record makes clear that the defendant otherwise understood the

 full significance of the waiver.           United States v. Johnson, 541

 F.3d 1064, 1066 (11th Cir. 2008).                The Eleventh Circuit has

 “consistently     enforced    knowing     and    voluntary   appeal   waivers

 according to their terms.”         United States v. Bascomb, 451 F.3d

 1292, 1294 (11th Cir. 2006).        A valid sentence-appeal waiver will

 also preclude a collateral attack of a sentence on the basis of

 ineffective assistance of counsel during the sentencing process.

 Williams v. United States, 396 F.3d 1340, 1342 (11th Cir. 2005).

       As set forth above, the Waiver of Right to Appeal and Right

 to Collaterally Challenge the Sentence provision of the Plea

 Agreement stated in pertinent part:

             The defendant agrees that this Court has
             jurisdiction and authority to impose any
             sentence up to the statutory maximum and
             expressly   waives the  right to   appeal
             defendant’s sentence or to challenge it

                                    - 23 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 24 of 30 PageID 1213



             collaterally on any ground, including the
             ground that the Court erred in determining the
             applicable guidelines range pursuant to the
             United States Sentencing Guidelines, except
             (a) the ground that the sentence exceeds the
             defendant’s applicable guidelines range as
             determined by the Court pursuant to the United
             States Sentencing Guidelines; (b) the ground
             that the sentence exceeds the statutory
             maximum penalty; or (c) the ground that the
             sentence violates the Eighth Amendment to the
             Constitution; provided, however, that if the
             government exercises its right to appeal the
             sentence imposed, as authorized by Title 18,
             United States Code, Section 3742(b), then the
             defendant is released from his waiver and may
             appeal the sentence as authorized by Title 18,
             United States Code, Section 3742(a).

 (Cr. Doc. #266, p. 13) (emphasis in original).                 The Magistrate

 Judge specifically called this provision to petitioner’s attention

 during the guilty plea colloquy, explained the provision, asked

 petitioner if he understood it, and elicited that petitioner had

 made this provision knowingly and voluntarily.          The record clearly

 establishes that the waiver of the right to collaterally challenge

 petitioner’s sentence was entered knowingly and voluntarily, and

 is thus valid and enforceable.

       Such a waiver provision, however, is only enforced according

 to its terms.      Bascomb, 451 F.3d at 1294.        The waiver provision

 in   this   case   precludes   an   appeal   or   collateral    challenge   to

 “defendant’s sentence”.        Since by law this includes ineffective

 assistance of counsel claims relating to the sentence, petitioner

 has waived those portions of Grounds Seven and Eleven.

       The other issues in this § 2255 motion do not relate to

 petitioner’s sentence, and therefore do not fall within the scope
                               - 24 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 25 of 30 PageID 1214



 of the waiver provision.         The Court is persuaded by Cowart v.

 United States, 139 F. App’x 206 (11th Cir. 2005) and Patel v.

 United States, 252 F. App’x 970 (11th Cir. 2007), both of which

 held that a valid sentence appeal waiver provision does not waive

 a defendant’s ability to challenge the validity of the guilty plea

 or ineffective assistance of counsel in connection with a plea

 agreement and guilty plea.

       B.    Procedural Default to Challenge to Guilty Pleas

       On direct appeal, petitioner argued that the district court

 abused its discretion by denying a motion to continue trial to

 allow counsel to adequately prepare, and abused its discretion by

 denying    his   motion   to   withdraw   his   guilty   plea   without    an

 evidentiary hearing.      The Eleventh Circuit stated:

       The Magistrate Judge conducted an extensive Rule 11
       hearing to ensure that Luczak's guilty plea was
       knowing and voluntary. At that hearing, Luczak
       pronounced himself “absolutely” satisfied with his
       attorney's representation. He acknowledged that
       counsel had explained the sentencing guidelines to
       him, that he was aware that the court could impose
       any sentence up to the statutory maximum, and that
       he would not be allowed to withdraw his plea if his
       attorney's predictions about the sentencing range
       proved inaccurate. He also admitted that he was in
       fact guilty of the offenses to which he pleaded.

 United States v. Luczak, 370 F. App'x 3, 4 (11th Cir. 2010).              The

 Eleventh Circuit went on to find that the district court was

 entitled to presume that petitioner’s earlier statements under

 oath were true, that there was no abuse in discretion in finding

 that petitioner “was competently represented and that his plea was

 knowing and voluntary,” and there was no need for the district
                             - 25 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 26 of 30 PageID 1215



 court to hold an evidentiary hearing after the Magistrate Judge’s

 inquiries.    Luczak, 370 F. App'x at 5.      Petitioner is procedurally

 barred from re-litigating the validity of his guilty plea in this

 §2255 proceeding because he already raised that issue in his direct

 appeal.     Stoufflet v. United States, 757 F.3d 1236 (11th Cir.

 2014).

       C.    Lack of Prejudice

       Petitioner argues in most of his other grounds that various

 actions or inactions by his attorney caused him prejudice because

 his guilty pleas were not made knowingly and voluntarily.               Even

 if his challenge to the guilty pleas is not procedurally barred,

 the record establishes that his guilty pleas were validly entered.

       The legal principles applicable to a guilty plea are well

 established.     “A guilty plea is more than a confession which admits

 that the accused did various acts. [ ] It is an admission that he

 committed the crime charged against him. [ ] By entering a plea of

 guilty, the accused is not simply stating that he did the discrete

 acts described in the indictment; he is admitting guilt of a

 substantive crime.”       United States v. Broce, 488 U.S. 563, 570

 (1989) (internal quotation marks and citations omitted).           For this

 reason, the United States Constitution requires that a guilty plea

 must be voluntary, and a defendant must make the related waivers

 knowingly, intelligently, and with sufficient awareness of the

 relevant circumstances and likely consequences.           United States v.

 Ruiz, 536 U.S. 622, 629 (2002); Hill v. Lockhart, 474 U.S. at 56;

                                    - 26 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 27 of 30 PageID 1216



 Henderson      v.    Morgan,      426   U.S.   637,     645   (1976).       A   criminal

 defendant who pleads guilty waives all non-jurisdictional defects

 in the proceedings, but may nonetheless attack the voluntary and

 knowing nature of the guilty plea, which may include ineffective

 assistance of counsel claims which go to the knowing and voluntary

 nature of the plea.               Tollett v. Henderson, 411 U.S. 258, 267

 (1973); Wilson v. United States, 962 F.2d 996, 997 (11th Cir.

 1992); United States v. Fairchild, 803 F.2d 1121, 1123 (11th Cir.

 1986).

       To be voluntary and knowing, (1) the guilty plea must be free

 from coercion; (2) the defendant must understand the nature of the

 charges;    and      (3)    the   defendant     must     know    and     understand   the

 consequences of his guilty plea.                     United States v. Mosley, 173

 F.3d 1318, 1322 (11th Cir. 1999).                Rule 11 explicitly directs the

 court    not    to    accept      a   plea    without    determining       these   “core

 concerns.”          Therefore, on review, the court is “warranted in

 regarding the court’s acceptance of the plea as a positive finding

 on each [component of the Rule].”                    United States v. Buckles, 843

 F.2d 469, 473 (11th Cir. 1988).

       The Court applies a strong presumption that statements made

 under oath during a plea colloquy are truthful. United States v.

 Medlock,       12    F.3d    185,     187    (11th     Cir.     1994).    Consequently,

 petitioner bears a heavy burden to show a statement made under

 oath at a plea colloquy was false. United States v. Rogers, 848

 F.2d 166, 168 (11th Cir. 1988).                 Petitioner simply has not done

                                             - 27 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 28 of 30 PageID 1217



 so.    Petitioner’s representations continue to be at odds with his

 prior representations and his prior testimony under oath.                   The

 Court finds that petitioner freely, voluntarily, knowingly, and

 intelligently entered his guilty pleas, and has not established

 any prejudice in connection with the entry of his guilty pleas.

        Additionally,   the   Court    finds    that   petitioner   failed    to

 establish prejudice in connection with his claims in Ground Eight

 regarding attorney Robert Altchiler.           Petitioner asserts that Mr.

 Atchiler had a conflict of interest due to the fact that he was an

 advisor to the petitioner and the company involved in this case.

 Mr. Altchiler was allowed to withdraw almost a year before the

 Superseding Indictment was even filed, and had nothing to do with

 petitioner’s decision to plead guilty.                Defendant suffered no

 prejudice from his brief representation by Mr. Altchiler.

                                        V.

        In his only claim not based on ineffective assistance of

 counsel, petitioner claims that the Court did not adequately

 question petitioner as to his satisfaction with counsel.                (Cv.

 Doc. #1.)    The record establishes that this claim is without merit,

 as the Eleventh Circuit has already determined.               As discussed

 above, the record contains a long history of discussion between

 the Court and petitioner regarding the attorneys he hired after

 the Court had appointed counsel.            Petitioner repeatedly stated he

 was satisfied with counsel and wanted him to continue to represent

 him.   This culminated in the question at the change of plea, “Are

                                      - 28 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 29 of 30 PageID 1218



 you satisfied with your attorney’s services for you,” to which

 petitioner answered “‘Absolutely, Your Honor.’”           (Cv. Doc. #1, p.

 19.)    The Eleventh Circuit quoted the same discussion and found

 the inquiry sufficient.

        Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.   Petitioner’s Motion Under 28 U.S.C. Section 2255 to

        Vacate, Set Aside or Correct Sentence by a Person in Federal

        Custody (Cv. Doc. #1; Cr. Doc. #349) is DENIED.

        2.   Petitioner’s Motion to Allow Discovery and Motion for

        Order to Expand Record, embedded in his §2255 motion, are

        DENIED.

        3.   The Clerk of the Court shall enter judgment accordingly

 and close the civil file.        The Clerk is further directed to place

 a copy of the civil Judgment in the criminal file.

        IT IS FURTHER ORDERED:

        A CERTIFICATE OF APPEALABILITY (COA) AND LEAVE TO APPEAL IN

 FORMA PAUPERIS ARE DENIED.        A prisoner seeking a writ of habeas

 corpus has no absolute entitlement to appeal a district court’s

 denial of his petition.      28 U.S.C. § 2253(c)(1); Harbison v. Bell,

 556 U.S. 180, 183 (2009).        “A [COA] may issue . . . only if the

 applicant has made a substantial showing of the denial of a

 constitutional right.”       28 U.S.C. § 2253(c)(2).        To make such a

 showing, petitioner      “must    demonstrate   that   reasonable   jurists

 would find the district court’s assessment of the constitutional

                                    - 29 -
Case 2:07-cr-00001-JES-D_F Document 355 Filed 09/30/14 Page 30 of 30 PageID 1219



 claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282

 (2004), or that “the issues presented were adequate to deserve

 encouragement to proceed further,” Miller-El v. Cockrell, 537 U.S.

 322, 336 (2003) (citations and internal quotation marks omitted).

 Petitioner     has   not   made    the   requisite     showing    in    these

 circumstances.

       Finally, because petitioner is not entitled to a certificate

 of appealability, he is not entitled to appeal in forma pauperis.

       DONE and ORDERED at Fort Myers, Florida, this              30th     day

 of September, 2014.




 Copies:
 Petitioner
 Counsel of Record




                                    - 30 -
